                     IN THE UNITED STATES DISTRICT COURT
                FOR THE WESTERN DISTRICT OF NORTH CAROLINA
                             CHARLOTTE DIVISION
                           DOCKET NO. 3:07-cr-00079-W
 UNITED STATES OF AMERICA,                           )
                                                     )
                Plaintiff,                           )
                                                     )
         vs.                                         )                   ORDER
                                                     )
 SHARU BEY,                                          )
                                                     )
                Defendant.                           )
                                                     )

       THE MATTER is before the Court on Defendant's pro se “Motion to Reinstate and Amend

Bond Pursuant to the Bail Reform Act § 3142(f)” (Doc. No. 110).

       As an initial matter, Defendant is reminded that he has appointed counsel and that motions

such as this are more appropriately filed through his appointed counsel. Nevertheless, for the reasons

stated in this Court’s Order of Detention Pending Trial (Doc. No. 32), the motion is DENIED..

       IT IS HEREBY ORDERED that Defendant’s pro se motion (Doc. No. 110) is DENIED.

       IT IS SO ORDERED.


                                              Signed: October 30, 2007




       Case 3:07-cr-00079-FDW           Document 111         Filed 10/30/07      Page 1 of 1
